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                     Exhibit A
                     (Excerpt)
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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION



 FEDERAL TRADE COMMISSION,

                    Plaintiff,

               v.                                           Case No.: 4:23-CV-03560-KH

 U.S. ANESTHESIA PARTNERS, INC.,

                    Defendants.


         Plaintiff Federal Trade Commission’s First Set of Requests for Admission to
                           Defendant U.S. Anesthesia Partners, Inc.
         Pursuant to Rule 36 of the Federal Rules of Civil Procedure, Plaintiff Federal Trade

Commission (“FTC”) requests that Defendant U.S. Anesthesia Partners, Inc. (“USAP”) respond

to this First Set of Requests for Admission (the “Requests”). Responses must be provided within

the time allotted under Rule 36(a)(3). These requests are continuing in nature and should be

supplemented in accordance with Rule 26(e) of the Federal Rules of Civil Procedure

                                             Instructions

1.       Unless otherwise specified, the information requested by this set of Requests is

         information in the possession, control, or custody of USAP. Your obligation to comply

         with these Requests is continuing and extends to information created or received after the

         date you respond to this request.

2.       If any privilege is claimed as a ground for not responding to a Request, provide a

         privilege log in Microsoft Excel format describing the basis for the claim of privilege and

         all information necessary for the FTC and the Court to assess the claim of privilege in



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         accordance with Federal Rule of Civil Procedure 26(b)(5). The privilege log must include

         the following: (i) the specific grounds for the claim of privilege; (ii) the date of the

         communication; (iii) the persons involved in the communication and the persons’

         positions at the time of the communication; (iv) a description of the subject matter of the

         communication in sufficient detail to assess the claim of privilege; and (v) the specific

         Request the claim of privilege relates to.

3.       In answering the following Requests, please quote each Request before each response.

         LR 26.2.

4.       If you find the meaning of any term in any Request unclear, without waiver of the FTC’s

         rights to seek a full and complete response to the Request, you shall assume a reasonable

         meaning, state what the assumed meaning is, and respond to the Request according to the

         assumed meaning.

                                               Definitions

A.       “You,” “the Company,” or “USAP” means U.S. Anesthesia Partners, Inc. and its

         successors, predecessors, divisions, wholly- or partially-owned subsidiaries, domestic or

         foreign parents, affiliates, partnerships, and joint ventures; and all the directors, officers,

         employees, consultants, agents, and representatives of the foregoing.

B.       “Acquired” means executed any transaction, including, but not limited to, a merger,

         acquisition (including asset purchases or acquisitions of voting stock or other equity),

         affiliation, consolidation, investment, joint venture, license, partnership, sale, or other

         transaction by or on behalf of the Company and a third party (including, but not limited

         to, the “Acquisitions” as used in USAP-FTC00004191).




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Request No. 34:      Admit that before it was Acquired by USAP, Lake Travis Anesthesiology

   provided Anesthesia Services in Austin.

Request No. 35:      Admit that before it was Acquired by USAP, Pinnacle provided

   Anesthesia Services in Dallas.

Request No. 36:      Admit that before it was Acquired by USAP, North Houston

   Anesthesiology (Kingwood) provided Anesthesia Services in Houston.

Request No. 37:      Admit that before it was Acquired by USAP, Anesthesia Consultants of

   Dallas provided Anesthesia Services in Dallas.

Request No. 38:      Admit that before it was Acquired by USAP, Excel Anesthesia, P.A.

   provided Anesthesia Services in Dallas.

Request No. 39:      Admit that before it was Acquired by USAP, BMW Physicians provided

   Anesthesia Services in Dallas.

Request No. 40:      Admit that before it was Acquired by USAP, Medical City Physicians

   provided Anesthesia Services in Dallas.

Request No. 41:      Admit that before it was Acquired by USAP, East Texas Anesthesiology

   Associates provided Anesthesia Services in Tyler.

Request No. 42:      Admit that before it was Acquired by USAP, MetroWest Anesthesia Care,

   PLLC provided Anesthesia Services in Houston.

Request No. 43:      Admit that before it was Acquired by USAP, Capitol Anesthesiology

   Association provided Anesthesia Services in Austin.

Request No. 44:      Admit that before it was Acquired by USAP, Amarillo Anesthesia

   Consultants, P.A. provided Anesthesia Services in Amarillo.




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